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               IN THE UNITED STATES DISTRICT COURT FOR THE
                         SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

HERMAN CHRISTOPHE, on behalf of                   §
himself and other similarly situated persons,     §
                                                  §
       Plaintiffs,                                §
                                                  §
v.                                                §       CIVIL ACTION NO. _______________
                                                  §
AARON EXPRESS, INC. d/b/a Colt                    §
EXPRESS (a/k/a COLT EXPRESS                       §
TRUCKING COMPANY), and SHERRY                     §	  
WHITELEY                                          §	  
                                                  §
                                                  §
       Defendants.                                §                           JURY REQUESTED

                           COLLECTIVE ACTION COMPLAINT

       Plaintiff, Herman Christophe (“Plaintiff’), files this Complaint against Aaron Express,

Inc. d/b/a Colt Express (a/k/a Colt Express Trucking Company) (“Colt”), and Sherry Whiteley

(“Whiteley”), (collectively referred to as “Defendants” herein,) showing in support as follows:

                                         I. SUMMARY

       1.      Plaintiff worked for Colt as a delivery driver hauling oilfield equipment.

       2.      Plaintiff was misclassified as an independent contractor by Defendants. Plaintiff

was paid a percentage of the amount Colt charged its customers for each delivery. Plaintiff

regularly worked in excess of 40 hours per workweek while performing his job duties for Colt.

However, he was never paid time and one-half his regular rate of pay by any Defendant in this

lawsuit for any hours worked over 40 in a workweek during his work for Colt.

       3.      Plaintiff worked with many other drivers performing the same or substantially

similar job duties as Plaintiff who also are/were misclassified by Defendants as so-called

independent contractors in connection with Colt’s oilfield delivery operations. Like Plaintiff,
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those other misclassified independent contractors were paid a percentage of the amount Colt

charged its customers for each delivery, worked in excess of 40 hours per workweek, but were

not paid time and one-half their regular rate of pay for all hours worked over 40 in an workweek.

        4.      As a result of the independent contractor misclassification, Plaintiff and the other

misclassified workers do not/did not enjoy and receive the benefits of employment, such as

overtime wages, health insurance benefits, and retirement benefits.

        5.      Plaintiff seeks to recover unpaid overtime wages and all available damages under

the federal Fair Labor Standards Act, 29 U.S.C. §§ 201-219, and the federal Portal-to-Portal Pay

Act, 29 U.S.C. §§ 251-262, (collectively “FLSA”) for Defendants’ failure to pay Plaintiff time

and one-half his regular rate of pay for all hours worked over 40 during each seven-day

workweek.

        6.      Plaintiff files his FLSA cause of action individually and on behalf of all others

similarly situated as a FLSA collective action pursuant to 29 U.S.C. § 216(b).

        7.      Plaintiff, on behalf of himself and all others similarly situated, alleges that Colt

and Whiteley are joint employers and are jointly and severally liable for his FLSA damages.

                      II. THE PARTIES, JURISDICTION, AND VENUE

        A. PLAINTIFF HERMAN CHRISTOPHE

        8.      Plaintiff is a natural person who resides in Houston, Texas. He has standing to file

this lawsuit.

        9.      Although Plaintiff was labeled as a so-called independent contractor by Colt, the

economic reality is that, at all times relevant, he was an “employee” of Defendants, as that term

is defined by the FLSA. 29 U.S.C. § 203 (e)(l). See also, Hopkins v. Cornerstone Am., 545 F.3d

338, 343 (5th Cir. 2008). Colt and Whiteley were employers of Plaintiff.



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         B. FLSA COLLECTIVE ACTION MEMBERS

         10.     The FLSA opt-in Plaintiffs and putative collective action members (hereafter the

“putative collective action members” or “misclassified independent contractors”) are all current

and/or former misclassified independent contractors similarly situated to Plaintiff who: (a)

during the three-year period preceding the filing of this complaint; (b) work/worked for Colt as

delivery drivers operating a motor vehicle weighing 10,000 pounds or less; (c) work/worked

more than 40 hours in any workweek; and (c) are/were not paid time and one-half their regular

rate of pay for all hours worked over 40 in each such workweek.

         11.     All of the putative collective action members are similarly situated to Plaintiff,

and to one another, within the meaning of Section 216(b) of the FLSA.

      C. DEFENDANT AARON TRANSPORTATION, INC. D/B/A COLT EXPRESS
(A/K/A COLT EXPRESS TRUCKING COMPANY)
         12.     On information and belief, Defendant Colt is a for-profit corporation incorporated

under the laws of the State of Texas.

         13.     During all times relevant to this lawsuit, Defendant has done business in the State

of Texas. Furthermore, Defendant employed and continues to employ delivery driver workers in

Texas.

         14.     Defendant’s principal office and principal place of business is located at 29735

Hager Rd., Hockley, Texas 77447.

         15.     During the time period relevant to the FLSA cause of action set forth in this

lawsuit, Colt is and was an “employer” of Plaintiff and the putative collective action members

pursuant to the FLSA.

         16.     At all times relevant to this lawsuit, Colt is and has been an “enterprise engaged in

commerce” as defined by the FLSA.



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        17.     At all times relevant to this lawsuit, Colt employed, and continues to employ, two

or more employees who engaged in commerce.

        18.     At all times relevant to this lawsuit, Colt employed two or more employees who

regularly handled and/or worked on goods and/or materials in their daily work that were moved

in and/or produced for commerce by other people. Examples of such goods and/or materials

include pipes and other oil field equipment.

        19.     At all times relevant to this lawsuit, Colt has had annual gross sales or business

volume in excess of $500,000.

        20.     Colt may be served with summons by serving its registered agent, Sherry

Whiteley, 29435 Hegar, Hockley, Texas 77447.

        D. SHERRY WHITELY

        21.     Sherry Whitely is an individual residing in this district.

        22.     During the time period relevant to the FLSA cause of action set forth in this

lawsuit, Whiteley is and was an “employer” of Plaintiff and the putative collective action

members pursuant to the FLSA. 29 U.S.C. § 203(d).

        23.     Whiteley possessed the power to hire and fire employees.

        24.     Whiteley supervised and controlled employee work schedules.

        25.     Whiteley controlled the conditions of employment for Colt employees.

        26.     Whiteley determined the rate and method of payment to Plaintiff and other

employees.

        27.     Whitely maintained employment records.

        28.     Whiteley may be served at her principal office and principal place of business

located at 29438 Hegar Rd., Hockley, Texas 77447.



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        E. JURISDICTION AND VENUE

        29.     The Court has personal jurisdiction over Defendants based on both general and

specific jurisdiction.

        30.     During all times relevant to this lawsuit, Defendants have done business in the

State of Texas and continue to do business in the State of Texas.

        31.     The Court has subject matter jurisdiction over this case based on federal question

jurisdiction, 28 U.S.C. § 1331, because Plaintiff bases his claim on federal law, namely the

FLSA.

        32.     Venue is proper in the United States District Court for the Southern District of

Texas because a substantial part of the events giving rise to Plaintiffs claims occurred, and

continue to occur, in this judicial district. Furthermore, Colt maintains a place of business/yard in

this judicial district where Plaintiff and the putative collective action members performed work.

        33.     Venue is proper in the Houston Division of the United States District Court for

the Southern District of Texas because Colt maintains business operations in this division and a

substantial part of the events giving rise to Plaintiff s claims occurred, and continue to occur, in

the Houston Division.

                                III. FACTUAL BACKGROUND

        34.     Plaintiff incorporates the preceding paragraphs by reference as if set forth fully in

this section.

        35.     Plaintiff and the putative collective action members all are current or former

delivery drivers for Colt. They would pick up materials from various companies, for example

Halliburton, and deliver these material to a job site somewhere, sometimes in Texas and

sometimes in other states.



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        36.     Plaintiff and the putative collection action members all operated motor vehicles

weighing 10,000 pounds or less.

        37.      At all times material to this lawsuit Plaintiff was treated as an independent

contractor by Defendants. Although he regularly worked over 40 hours per workweek while

working for Colt and does not meet any FLSA exemption, he was never paid time and one-half

his regular rate of pay for any hour worked over 40 in a workweek by any Defendant.

Defendants made no deductions made from Plaintiffs paychecks pursuant to the Federal

Insurance Contributions Act (“FICA”). Plaintiff was issued 1099s, as opposed to W-2s, by Colt.

        38.     At all times relevant, Plaintiff was not paid on a salary or fee basis as those

phrases are understood pursuant to the FLSA.

        39.     Defendants classified Plaintiff as a so-called independent contractor. However,

the reality under the FLSA is that Plaintiff was Colt’s and Whiteley’s employee/joint employee

at all material times.

        40.     Plaintiff and the putative collective action members are/were supervised by Colt

managers on a daily basis.

        41.     Colt provided Plaintiff and the putative collective action members with motor

vehicle liability and cargo insurance.

        42.     Plaintiff and the putative collective action members were instructed in the manner

in which to do their jobs by Colt managers.

        43.     Plaintiff and the putative collective action members were not permitted and did

not hire employees to assist them with their work for Colt.

        44.      Plaintiff and the putative collection action members did not exercise sufficient, if

any, control over a meaningful part of the business so as to respectively be separate economic



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entities from Colt. Plaintiff and the other misclassified independent contractors were simply a

part of Colt’s workforce performing job duties and work that was an integral part of Colt’s

business operations.

        45.     Similarly, Plaintiff and the putative collective action members did not exercise

sufficient, if any, control over a meaningful part of the business so as to respectively be separate

economic entities from Defendants.         Plaintiff and those other misclassified independent

contractors were simply Colt workers.

        46.     Plaintiff and the putative collective action members, respectively, did not provide

material investment in Colt’s business operations, and Colt’s investment in its business

operations exceeds the investments, if any, of each Plaintiff and putative collective action

member in connection with each such person’s work for Defendants.

        47.     At all times relevant, Plaintiff and the putative collective action members were

economically dependent on Colt. For example, although Colt issued the paychecks to Plaintiff

and those other misclassified independent contractors, Colt required/permitted Plaintiff and the

other misclassified independent contractors to perform the work which resulted in those

paychecks. The work demand from Colt prevented Plaintiff and the putative collective action

members from a meaningful opportunity for earned income from a source other than Colt.

        48.     Indeed, Colt required Plaintiff and the putative collection members to sign

non-compete agreements which prohibited them from working for Colt’s customers except

through Colt.

        49.     Plaintiff and the misclassified independent contractors did not and could not hire

employees of their own while working for Defendants. Similarly, Plaintiff and the misclassified

independent contractors did not and could not subcontract the work assigned to them by Colt.



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Plaintiff and the misclassified independent contractors had no opportunity for loss. Instead, there

was only opportunity for earned income based upon days worked for Colt.

        50.     All major components open to initiative, such as advertising, pricing, and

business decision making, were controlled by Defendants, not Plaintiff and the putative

collective action members.

        51.     Plaintiff and the putative collective action members routinely worked in excess of

40 hours in a workweek. When Plaintiff and the other misclassified independent contractors

worked in excess of 40 hours in a workweek, they were not paid corresponding overtime

premium compensation as required by the FLSA.

                             IV. CONTROLLING LEGAL RULES

        52.     “Employ” includes to suffer or permit work. 29 U.S.C. § 203(g).

        53.     The FLSA generally requires that an employer employing an employee for a

workweek exceeding 40 hours must compensate the employee for hours worked over 40 “at a

rate not less than one and one-half times the regular rate of pay.” 29 U.S.C. § 207(a)(1). The

“regular rate” includes “all remuneration for employment paid to, or on behalf of, the employee.”

29 U.S.C. § 207(e).

        54.     Failing to pay the required overtime premium for hours worked over 40 in a

workweek is a violation of the FLSA. 29 U.S.C. § 216.

        55.     Whether an individual is an employee, who is covered by the FLSA’s provisions,

as opposed to an independent contractor, who is not covered by the FLSA, is determined by the

economic realities test. Hopkins, 545 F.3d at 343. The purpose of the economic realities test is to

determine whether “the worker is economically dependent upon the alleged employer or is

instead in business for himself.” Id.



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          56.     District Courts within the Fifth Circuit consider the following five factors in

assessing the economic reality of the working relationship: (1) the degree of control exercised by

the alleged employer; (2) the extent of the relative investments of the worker and the alleged

employer; (3) the degree to which the worker’s opportunity for profit or loss is determined by the

alleged employer; (4) the skill and initiative required in performing the job; and (5) the

permanency of the relationship. Id. at 343 (citing Herman v. Express Sixty-Minutes Delivery

Serv., Inc., 161 F.3d 299, 303 (5th Cir. 1998)). The Fifth Circuit further noted that: “no single

factor is determinative. Rather, each factor is a tool used to gauge the economic dependence of

the alleged employee, and each must be applied with this ultimate concept in mind.” Id. (citing

Herman, 161 F.3d at 303 and Brock v. Mr. W Fireworks, Inc., 814 F.2d 1042, 1043-44 (5th Cir.

1987)).

          57.     Federal law requires employers to make and keep accurate and detailed payroll

data for non-exempt employees. 29 U.S.C. § 211(c); 29 C.F.R. § 516.2. Amongst other things,

the regulations require employers to make and keep payroll records showing data such as the

employee’s name, social security number, occupation, time of day and day of week which the

workweek begins, regular hourly rate of pay for any week in which overtime pay is due, hours

worked each workday and total hours worked each workweek, total daily or weekly straight time

earnings, total premium pay for overtime hours, total wages paid each pay period and date of

payment and pay period covered by the payment, and records of remedial payments. 29 C.F.R. §

516.2(a)&(b). Employers are required to maintain the foregoing data for a minimum of three

years. 29 C.F.R. § 516.5.

          58.     The FLSA defines the “regular rate” as including “all remuneration for

employment paid to, or on behalf of, the employee ....” 29 U.S.C. § 207(e).



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          59.     With a few limited exceptions, all remuneration given to an employee must be

included in the employee’s regular rate calculation. 29 U.S.C. § 207(e); 29 C.F.R. § 778.108;

accord Allen v. Board of Pub. Educ. For Bibb Cty., 495 F. 3d 1306, 1311 (11th Cir. 2007); see

also Johnson v. Big Lots Stores, Inc., 604 F. Supp. 2d 903,927 (E.D. La. 2009).

          60.     The Motor Carrier Act exemption does not apply to an employee “who performs

duties on motor vehicles weighing 10,000 pounds or less.” Aikins v. Warrior Energy Servs.

Corp., No. 6:13-CV-54, 2015 U.S. Dist. LEXIS 32870, 2015 WL 1221255 (S.D. Tex. Mar. 17,

2015); Roche v. S-3 Pump Serv., Civil Action No. 5:15-CV-268-XR, 2016 U.S. Dist. LEXIS 82,

at *13 (W.D. Tex. Jan. 4, 2016).

          61.     “Exemptions under the FLSA are construed narrowly against the employer, and

the employer bears the burden to establish a claimed exemption.” Allen v. Coil Tubing Servs.,

L.L.C., 755 F.3d 279, 283 (5th Cir. 2014).

                                      V. PLAINTIFF’S CLAIMS

          62.     Plaintiff incorporates the preceding paragraphs by reference as if set forth fully in

this section.

          63.     This action is authorized and instituted pursuant to the FLSA. 29 U.S.C. §§ 201,

et seq.

          64.     All conditions precedent to this suit, if any, have been fulfilled.

          65.     At all material times, Plaintiff has been an employee of Colt and Whiteley

pursuant to the FLSA. Although Defendants labeled/treated Plaintiff as a so-called independent

contractor, the economic reality is that Plaintiff was an employee Colt and Whiteley.

          66.     At all material times, Defendants have been an eligible and covered employer

pursuant to the FLSA. 29 U.S.C. § 203(d).



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        67.     Plaintiff routinely worked in excess of 40 hours per seven-day workweek in the

time period relevant to this lawsuit.

        68.     At all material times, Plaintiff is and was entitled to overtime compensation at one

and one-halftimes his regular rate of pay. 29 U.S.C. § 207(a)(1).

        69.     Defendants failed to pay Plaintiff overtime compensation at one and one-half

times his regular rate of pay for all hours worked over 40 in each and every seven-day workweek

during the time period relevant to this lawsuit.

        70.     Defendants did not maintain an accurate number of the daily and weekly hours

worked by Plaintiff during the relevant time period of this lawsuit. 29 C.F.R. § 516.2.

        71.     Defendants’ violations of the FLSA are and were willful within the meaning of 29

U.S.C. § 255(a). See Singer v. City of Waco, 324 F.3d 813, 821-22 (5th Cir. 2003) (upholding a

jury finding of willfulness). Plaintiff specifically pleads recovery for the time period of three

years preceding the date this lawsuit was filed and forward for his FLSA claims.

        72.     Plaintiff seeks all damages available for Defendant’s violations of the FLSA.

                         VI. FLSA COLLECTIVE ACTION ALLEGATIONS

        73.     Plaintiff incorporates the preceding paragraphs by reference as if set forth fully in

this section.

        74.      The FLSA putative collective action members are defined as: all current and/or

former drivers of Colt who operated a motor vehicle weighing 10,000 pounds or less during

the three-year period preceding the filing of this complaint.

        75.     Where, as here, the employer’s actions or policies were effectuated on a

companywide basis, notice may be sent to all similarly situated persons on a companywide basis.

See Ryan v. Staff Care, Inc., 497 F. Supp. 2d 820, 825 (N.D. Tex. 2007) (certifying nationwide



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collective action in FLSA case); see also, Jones v. SuperMedia Inc., 281 F.R.D. 282, 290 (N.D.

Tex. 2012) (same).

        76.     All of the putative collective action members are similarly situated to Plaintiff,

and to one another, within the meaning of Section 216(b) of the FLSA.

        77.     The time period relevant to the claims of the putative collective action members is

three years preceding the date this lawsuit was filed and forward.

        78.     Plaintiff reserves the right to establish sub-classes and/or modify class notice

language as appropriate in any collective action certification motion or other proceeding.

        79.     Plaintiff further reserves the right to amend the definition of the putative class, or

sub classes therein, if discovery and further investigation reveal that the putative class should be

expanded or otherwise modified.

                                       VII. JURY DEMAND

        80.     Plaintiff demands a jury trial.

                                VIII. DAMAGES AND PRAYER

        81.     Plaintiff asks that the Court issue a summons for Defendants to appear and

answer, and that Plaintiff and the putative collective action members be awarded a judgment

against Defendants for the following:

        a.      Actual damages in the amount of unpaid overtime wages;

        b.      Liquidated damages under the FLSA;

        c.      Certification of Plaintiff’s FLSA causes of action as a collective action with the

requirement of notice of this lawsuit being provided to the putative collective action members;

        d.      Post-judgment interest on the FLSA damages;

        e.      Costs;



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             f.    Reasonable attorney’s fees under the FLSA; and

             g.    All other relief to which Plaintiff and the putative collective action members are

justly entitled.

                                                     Respectfully submitted,

                                                     STURM LAW, PLLC

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